Case 15-11357-CSS Doc 1094 Filed 01/14/16 Page1of3

UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF DELAWARE
x
In re : Chapter 11
MOLYCORP, INC., et al.,' . Case No. 15-11357 (CSS)
Debtors. : (Jointly Administered)
‘ Ref, Docket No. 716

 

ORDER EXTENDING THE DEBTORS' EXCLUSIVE PERIODS TO
FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

 

This matter coming before the Court on the Debtors’ Motion for an Order
Extending their Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof
(the "Motion"),’ filed by the debtors in the above-captioned cases (collectively, the "Debtors");
the Court having reviewed the Motion and having heard the statements of counsel regarding the
relief requested in the Motion at a hearing, if any, before the Court (the "Hearing"); the Court
finding that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334
and the Amended Standing Order, (b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)
and (c) notice of this Motion and the Hearing was sufficient under the circumstances; and the
Court having determined that the legal and factual bases set forth in the Motion and at any

Hearing establish just cause for the relief granted herein;

 

The Debtors are the following 21 entities (the last four digits of their respective taxpayer identification
numbers, if any, follow in parentheses): Molycorp, Inc. (1797}; Industrial Minerals, LLC; Magnequench,
Inc. (1833); Magnequench International, Inc. (7801}; Magnequench Limited; Molycorp Advanced Water
Technologies, LLC (1628); MCP Callco ULC; MCP Canada Holdings ULC; MCP Canada Limited
Partnership; MCP Exchangeco Inc.; Molycorp Chemicals & Oxides, Inc. (8647); Molycorp Luxembourg
Holdings §.4 r.1.; Molycorp Metals & Alloys, Inc. (9242); Molycorp Minerals Canada ULC; Molycorp
Minerals, LLC (4170); Molycorp Rare Metals Holdings, Inc. (4615); Molycorp Rare Metals (Utah), Inc.
(7445); Neo International Corp.; PP IV Mountain Pass, Inc. (1205); PP 'V Mountain Pass II, Tac. (5361);
RCF IV Speedwagon Inc. (0845). Molycorp's United States headquarters is located at 5619 DTC Parkway,
Suite 1000, Greenwood Village, Colorado, 80111.

Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.

NAI-1500769561v1
Case 15-11357-CSS Doc 1094 Filed 01/14/16 Page 2of3

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED as set forth herein.

2. The Exclusive Filing Period and Exclusive Solicitation Period are
extended, pursuant to section 1121(d) of the Bankruptcy Code, through and including the date
that this Court makes a determination regarding confirmation of the Debtors' Second Amended
Joint Plan of Reorganization (as it may be amended, modified or supplemented, the "Plan") at or
after the Confirmation Hearing (as such term is defined in the Plan), with any further extension
or termination of the Exclusive Periods to be resolved by this Court as soon as reasonably
practicable after the determination regarding confirmation of the Plan. -

3. Notwithstanding anything herein, upon a deletion of the Alternative Plan
Treatment Provisions (as such term is defined in the Bidding Procedures, attached as Exhibit J to
the Order (A) Approving Bidding Procedures for the Sale of the Debtors’ Assets, (B) Approving
Certain Bidder Incentives in Connection With the Debtors’ Entry Into a Stalking Horse
Agreement, If Any and (C) Approving Procedures for the Assumption and Assignment of
Executory Contracts and Unexpired Leases (the "Bidding Procedures") in the Plan, this Court
shall, upon no more than five (5) business days' notice by the Committee and/or the Ad Hoc
Noteholder Group, but subject to this Court's availability, hear the Termination Motions (as
defined in the Bidding Procedures and as they may have been amended). The burden of proof at
the hearing on such motion(s) shall be borne equally by the parties seeking to terminate
exclusivity and the parties opposing such motion(s).

4, The relief granted in this Order is without prejudice to the Debtors’ rights

to seek further extensions of the Exclusive Filing Period and the Exclusive Solicitation Period.

NAI-1500769561v1
Case 15-11357-CSS Doc 1094 Filed 01/14/16 Page 3 of 3

5. The terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.
6. This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation and/or interpretation of this Order.

Dated: Wilmington, Delaware

—Gorseey 2016 (By

TNE HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

NAI-1500769561v1
